
The Disciplinary Review Board having filed with the Court its decision in DRB 17-318, concluding that Jeff A. Schnepper of Cherry Hill, who was admitted to the bar of this State in 1976, should be reprimanded for violating RPC 1.7(a) (concurrent conflict of interest), and good cause appearing;
It is ORDERED that Jeff A. Schnepper is hereby reprimanded; and it is further
ORDERED that the entire record of this matter be made a permanent part of respondent's file as an attorney at law of this State; and it is further
ORDERED that respondent reimburse the Disciplinary Oversight Committee for appropriate administrative costs and actual expenses incurred in the prosecution of this matter, as provided in Rule 1:20-17.
